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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION

    BIANCA JOHNSON, et al.,
                                 Plaintiffs,
                         v.                        LEAD CASE NO. 3:16-cv-00016

    ANDREW HOLMES,
                                Defendant.

    LEON POLK, et al.,
                                 Plaintiffs,
                         v.
                                                   CASE NO. 3:16-cv-00017
    ANDREW HOLMES,
                                Defendant.

    RODNEY HUBBARD, et al.,
                                 Plaintiffs,

                         v.                        CASE NO. 3:16-cv-00018

    ANDREW HOLMES,
                                Defendant.

    CORY GRADY,
                                 Plaintiff,

                         v.                        CASE NO. 3:17-cv-00062

    ANDREW HOLMES,
                                Defendant.


    SERGIO HARRIS,
                                 Plaintiff,

                         v.                        CASE NO. 3:17-cv-00079

    ANDREW HOLMES, et al.,
                               Defendants.




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         This motion concerns Plaintiff Sergio Harris’s case against Defendants Andrew Holmes

  and Cassey Mikus. Case No. 3:17-cv-00079. In that matter, Defendants have moved for partial

  summary judgment as to Plaintiff Harris’s third cause of action. See Dkt. 192, 193. Plaintiff has

  not objected to the motion or relief requested, see Dkt. 206, and confirmed the same in the

  Court’s pretrial conference on August 23, 2022.

         Accordingly, finding the relief requested unopposed, the Court will GRANT Defendants’

  motion for partial summary judgment as to Plaintiff Harris’s third cause of action, Dkt. 192, and

  award summary judgment to Defendants on Plaintiff Sergio Harris’s third cause of action. All

  other counts in Plaintiff Sergio Harris’s case and in any other of the consolidated actions are

  unaffected.

         It is so ORDERED.

         The Clerk of Court is directed to send this Order to all counsel of record.

                       6th day of September, 2022.
         Entered this _____




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